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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                   MOTION FOR ADMISSION PRO HAC VICE


Case Number: _0:20-cv-01906-WMW-KMM_

Case Title: _Elisabeth Cleveland, on behalf of herself and all others similarly situated v.
                                        Whirlpool Corporation_


                                      Affidavit of Movant

I, _Raina Borrelli_     an active member in good standing of the bar of the U.S. District Court for
the District of Minnesota, request that this Court admit pro hac vice _Harper T. Segui______, an
attorney admitted to practice and currently in good standing in the U.S. District Court for (please
identify ONE specific district to which the attorney is admitted) _South Carolina____, but not
admitted to the bar of this court, who will be counsel for the X plaintiff defendant _Elisabeth
Cleveland__ in the case listed above.

I am aware that the local rules of this court require that an active Minnesota resident, unless the
court grants a motion for a non-Minnesota resident to serve as local counsel, who is a member in
good standing of the bar of this court participate in the preparation and presentation of the case
listed above, and accept service of all papers served.

Check one of the following:

 X I am a resident of the State of Minnesota, and agree to participate in the preparation and the
presentation of the case above and accept service of all papers served as required by LR 83.5(d)
(sign and complete information below).

    I am not a resident of the State of Minnesota and hereby move for permission to act as local
counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the
case listed above, and accept service of all papers served as required by LR 83.5(d) should my
motion for a non-resident to serve as local counsel be granted by the court (sign and complete
information below and attach a completed Motion for Permission for a Non-Resident to Serve as
Local Counsel).

      Signature:___/s/ Raina C. Borrelli_____________ Date: __10/29/2020_________

       MN Attorney License #: _392127________




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                                Affidavit of Proposed Admittee


I, _Harper T. Segui____, am currently a member in good standing of the U.S. District Court for
the (please identify ONE specific district to which you are admitted) __South Carolina _______,
but am not admitted to the bar of this court. I understand that if this Court grants me admission
pro hac vice, the moving attorney identified in this motion must participate in the preparation and
presentation of the case listed above, and must accept service of all papers served as required by
LR 83.5(d). I further understand that the District of Minnesota is an electronic court and that I
will receive service as required by Fed. R. Civ. P. 5(b) and 77(d) by electronic means and I
understand that electronic notice will be in lieu of service by mail.

Signature: /s/Harper T. Segui         Date: __10/29/2020_________

Typed Name: __Harper T. Segui______________

Attorney License Number:___77730__ issued by the State of __South Carolina __

Federal Bar Number (if you have one): 10841

Law Firm Name: __Whitfield Bryson, LLP ___________

Law Firm Address: __217 Lucas Street, Suite G_________

                    __Mount Pleasant, SC 29464________

Main phone: (919)_600-5000______________             Direct line: (___)____________________

E-mail address: _harper@whitfieldbryson.com ______________




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